[Cite as State ex rel. Mitchell v. Pittman, 2024-Ohio-3246.]



                  IN THE COURT OF APPEALS OF OHIO
                             ELEVENTH APPELLATE DISTRICT
                                  PORTAGE COUNTY

STATE OF OHIO ex rel.                                    CASE NO. 2024-P-0040
JAMES E. MITCHELL,

                  Relator,                               Original Action for Writ of Procedendo

         - vs -

PORTAGE COUNTY COMMON PLEAS
COURT JUDGE LAURIE J. PITTMAN,

                  Respondent.


                                            PER CURIAM
                                             OPINION

                                        Decided: August 26, 2024
                                         Judgment: Dismissed


James E. Mitchell, pro se, PID# A293-032, Marion Correctional Institution, 940 Marion-
Williamsport Road, P.O. Box 57, Marion, OH 43302 (Relator).

Victor V. Vigluicci, Portage County Prosecutor, and Theresa M. Scahill, Assistant
Prosecutor, 241 South Chestnut Street, Ravenna, OH 44266 (For Respondent).


PER CURIAM.

        {¶1}      This matter is before this Court upon motion to dismiss of respondent,

Portage County Common Pleas Court Judge Laurie J. Pittman, filed July 25, 2024.

        {¶2}      On October 17, 2023, relator James E. Mitchell, filed a Motion for a Final

Appealable Order with the Portage County Court of Common Pleas in Case No. 1993 CR

0294. On December 8, 2023, relator filed a Motion to Dismiss Indictment in the same

case. Relator then filed a Petition for a Writ of Procedendo with this Court on June 25,
2024, after seven months had passed and there had been no ruling on his motions. On

July 5, 2024, this Court issued an alternative writ. On July 18, 2024, Judge Pittman

entered a judgment on both motions. Judge Pittman now asks this Court to dismiss this

action.

          {¶3}   As grounds for dismissal, Juge Pittman argues that the motions were ruled

upon, and the issue is now moot. “Neither procedendo nor mandamus will compel the

performance of a duty that has already been performed.” State ex rel. Grove v. Nadel, 84

Ohio St.3d 252, 305 (1998).

          {¶4}   Because the duty relator sought has already been performed, respondent

cannot be compelled. Id. Relator’s request is rendered moot. Accordingly, respondent’s

motion is granted and relator’s complaint for writ of procedendo is dismissed.




MATT LYNCH, J., JOHN J. EKLUND, J., ROBERT J. PATTON, J., concur.




                                              2

Case No. 2024-P-0040
